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 ____________________________________________________________________________
                                                 SO ORDERED,




                                                 Judge Jason D. Woodard
                                                 United States Bankruptcy Judge


        The Order of the Court is set forth below. The case docket reflects the date entered.
 ____________________________________________________________________________
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